                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                                  3:12cv739
                                [ 3:02cr152-5]

O’BRYANT CARISCO HOWIE,                         )
                                                )
                      Petitioner,               )
                                                )
Vs.                                             )     ORDER GRANTING
                                                )     RELIEF UNDER SIMMONS
UNITED STATES OF AMERICA,                       )
                                                )
                 Respondent.                    )
_______________________________                 )

         THIS MATTER is before the court on petitioner’s counseled motion for relief

under United States v. Simmons, 649 F.3d 237 (4th Cir. 2011). The court has considered

the pending motion, conducted an initial screening of the petition under the Rules

Governing § 2255Proceedings, Rule 4(b), determined that petitioner stated a pure

Simmons claim challenging his two 18 U.S.C. § 922(g) convictions in the criminal case

based on a claim that such convictions were predicated on a now non-qualifying North

Carolina offense, and directed the government to answer or otherwise respond to that

claim.

         On December 11, 2012, the government filed its response. It that response, the

government agrees with petitioner that he is actually innocent of the 18 U.S.C. §

922(g)(1) conviction he challenges. As to timeliness under 28 U.S.C. § 2255(f), the

government has waived the statute of limitations and agrees that this court should vacate

petitioner’s § 922(g) conviction and reduce his sentence to 153 months. The court fully
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concurs.

          A Section 2255 claim not brought within one year under § 2255(f) is procedurally barred.

A petitioner can overcome the procedural bar if he can show a fundamental miscarriage of

justice

          [I]n an extraordinary case, where a constitutional violation has probably resulted
          in the conviction of one who is actually innocent, a federal habeas court may
          grant the writ even in the absence of a showing of cause for the procedural
          default.

Murray v. Carrier, 477 U.S. 478, 496, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986). Actual innocence

is not itself a substantive claim, but rather serves only to lift the procedural bar caused by a

defendant’s failure timely to file his § 2255 motion. Bousley v. United States, 523 U.S. 614, 622,

118 S.Ct. 1604, 140 L.Ed.2d 828.

          In this matter, however, the government has waived the procedural bar. As to whether

the government can waive the period of limitation under the AEDPA, one court has noted as

follows:

          There is a dearth of case law discussing the question of whether the new
          limitations bar under AEDPA is jurisdictional, or is an affirmative defense that
          can be waived. However, the few courts that have addressed the issue have
          concluded that the one-year statute of limitations is an affirmative defense
          under Rule 8(c) of the Federal Rules of Civil Procedure, and thus is waived if
          not raised in opposition to a habeas petition. See, e.g., Samuel v. Duncan, 92
          F.3d 1194 (table), 1996 WL 413632, at *1 (9th Cir. July 22, 1996) (“the
          government has not raised the issue [of the statute of limitations under AEDPA],
          so we need not consider it because the statute of limitations is not jurisdictional
          and can be waived”), cert. denied, 520 U.S. 1157, 117 S.Ct. 1338, 137 L.Ed.2d
          497 (1997); Andrews v. Johnson, 976 F.Supp. 527, 529 (N.D.Tex. 1997) (because
          the Writ of Habeas Corpus is a right grounded in common law, and is not based
          on a statutory waiver of sovereign immunity, it constitutes an affirmative defense
          that is waived if not pled). Because Metts’s petition is not time barred, it is
          unnecessary for the court to reach this issue.

Metts v. Miller, 995 F.Supp. 283, 291 (E.D.N.Y. 1997) (emphasis added). By the government

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not raising the period of limitation in bar and affirmatively waiving the period of limitation, the

court need not reach the § 2255(f) issue and may move forward and consider the allegation and

concession of actual innocense as the period of limitation is not jurisdictional. United States v.

Smith, 2007 WL 1217772, *1 (M.D.Pa. April 24, 2007) (“The one-year period of limitation for

filing a § 2255 motion is not jurisdictional ....” ).

        While a district court may sua sponte consider the timeliness of a §2255 motion, the

statute-of-limitations defense remains a non-jurisdictional affirmative defense that the

government may waive.          Recognizing that courts may sua sponte consider timeliness, the

Supreme Court held in Day v. McDonough, 547 U.S. 198, 205, 209, 211 n. 11 (2006) (state

habeas) that because a statute-of-limitations defense is not jurisdictional, courts are not obligated

to consider the time bar sua sponte; however, where the state intelligently chooses to waive a

statute of limitations defense, a district court is not at liberty to disregard that choice. This court

finds that where the federal government intelligently waives its statute of limitations defense, as

it has done here, the logic of Day would also direct that a court is not at liberty to disregard that

waiver in the context of a §2255 motion.

        As the government has waived the procedural bar and conceded that defendant is actually

innocent under United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), and it

appearing to the court that defendant is in fact actually innocent of firearm offense(s) inasmuch

as his state-court convictions under North Carolina’s Structured Sentencing Act are now non-

qualifying under Simmons,

        IT IS, HEREBY, ORDERED, ADJUDGED, AND DECREED that

        (1)     petitioner’s Motion to Vacate is GRANTED as to the §922(g)(1) conviction, and

                is otherwise DENIED as to all other claims and all other counts of conviction;
                                                    3



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(2)    the February 10, 2004, “Judgment of Conviction” is VACATED and a new

       Judgment of Conviction is simultaneously entered herewith, retaining therein a

       conviction on the drug-trafficking offense as well as the sentence thereupon

       imposed, as such sentence has been amended under Crack I and Crack, for a total

       period of incarceration of 153 months. All other terms and conditions of such

       judgment as to the drug trafficking offense shall remain in full force and effect;

       and

(3)    The Clerk of Court is instructed to certify a copy of this Order and the Amended

       Judgment to the United States Marshal for expedited review by the Bureau of

       Prisons inasmuch as it appears that petitioner may qualify for immediate release

       based on percentage of time served.




 Signed: December 12, 2012




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